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                              UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO


SABINO LEIBAR,
                                                      Case No. 1:17-cv-00415-BLW
                       Plaintiff,
                                                      JUDGMENT OF DISMISSAL WITH
vs.                                                   PREJUDICE

JOHN ANCHUSTEGUI, JANE
ANCHUSTEGUI, ANCHUSTEGUI SHEEP
COMPANY, JA PROPERTIES, LLC, JA
PROPERTIES BOISE, LLC, JA MOTORS,
LLC, JA LAND & LIVESTOCK, LLC, and JA
CATTLE COMPANY, LLC,

                       Defendants.


       BASED UPON the Stipulation (Dkt. 32) of the parties on file herein,

       IT IS HEREBY ADJUDGED that this case is dismissed with prejudice and without an

award of costs or attorneys’ fees to any party.

       The Clerk of the Court is HEREBY ORDERED to close this case.


                                                   DATED: October 18, 2018


                                                   _________________________
                                                   B. Lynn Winmill
                                                   Chief Judge
                                                   United States District Court




JUDGMENT OF DISMISSAL WITH PREJUDICE - 1
